Case 2:05-Cr-20281-.]TF Document 13 Filed 08/17/05 Page 1 of 2 Page|D 14
|N THE UNlTED STATES DlSTRiCT COURT

 

FoR THE wEsTERN DisTRlcT or TENNESSEE Fu_sn B‘r .,..,~.... D~¢l
WESTERN DlV|SlON
G=MH-BMM‘ 3
UNITED STATES OF AMERJCA, ]HOM M GOULD
us wind omni

   

 

Plaintiff, w cyr E.`,;QRD§.§S
t _ : ,_. .i\.\'

v. Cr. No. §§ '2@§1' 12
R\C._\Q \~\UUHE.S

 

 

Defendant.
ORDER ON ARRA|GNMENT
This cause came to be heard on 03 "l'] , 2005. The Assistant United States

Attorney appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is retained/appointed:

NAME:
ADDRESS:

TELEPHONE:

 

 

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause shown
to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his/her present bond.

\/The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984}, is remanded to the custody of the U.S. Marshal.

lsme §§

United States Magistrate Judge

charges: 0 s Acr seen mem comm/m amoco To
C.F.\m& OF \)|OLEUCE, |'-`ELOLJ IOJ \OOS$ELS$\OM OF A FIR.ENU¥\

Assistant U.S. Attorney assigned to case: ULQI;'

 

The defendants age is: 22- .

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRch on <Y'/;§ ’05/

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CR-20281 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Katrina U. Earley

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PDA

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200 Jeffersc)n Ave.

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Honorable Bernice Donald
US DISTRICT COURT

